Case 1:22-bk-10283-MB     Doc 35 Filed 10/14/22 Entered 10/14/22 13:10:16       Desc
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 4

 5 Chapter 7 Trustee

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 8                          UNITED STATES BANKRUPTCY COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA DIVISION
10                             SAN FERNANDO VALLEY DIVISION
11

12 In re:                                         Case No.: 1:22-bk-10283-MB
13 Lusine Cristine Dokuzyan,                      Chapter 7
14                       Debtor(s).               NOTICE OF ASSET CASE
15

16                                                [No Hearing Required]
17

18

19          TO: Kathleen J. Campbell, CLERK OF THE UNITED STATES BANKRUPTCY

20 COURT:

21          Amy L. Goldman, the duly appointed Chapter 7 Trustee in the above-captioned

22 bankruptcy case, after reviewing the case docket and file and determining that no claims

23 bar date has been fixed, hereby notifies the Clerk of the United States Bankruptcy Court

24 that assets may be administered in the above-captioned case and appropriate notice

25 should be given to creditors to file claims.

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27 Dated: October 14, 2022                         /s/ Amy L. Goldman
                                                   Amy L. Goldman, Chapter 7 Trustee
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